
943 So.2d 291 (2006)
Rainer PEREZ-BOZA, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D06-1498.
District Court of Appeal of Florida, Third District.
November 29, 2006.
Rainer Perez-Boza, in proper person.
Charles J. Crist, Jr., Attorney General, and William J. Selinger, Assistant Attorney General, for appellee.
Before FLETCHER and SHEPHERD, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
This is an appeal of an order summarily denying a motion under Florida Rule of Criminal Procedure 3.800(a). On appeal from a summary denial, this court must reverse unless the postconviction record, see Fla. R.App. P. 9.141(b)(2)(A), shows conclusively that the appellant is entitled to no relief. See Fla. R.App. P. 9.141(b)(2)(D).
Defendant argues that he is entitled to jail-time credit which was not waived as part of a plea agreement. Because the record now before us fails to make the required showing, see Lundy v. State, 912 So.2d 671 (Fla. 3d DCA 2005), we reverse the order and remand for further proceedings or for the attachment of record excerpts *292 conclusively showing that the appellant is not entitled to any relief.
Reversed and remanded for further proceedings.
